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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
                                                                                                      July 16, 2021
    Case No.     2:21-cv-03010-SVW-MAR                                                       Date

                 Punchbowl, Inc. v. AJ Press LLC
    Title




    Present: The Honorable       STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                       Paul M. Cruz                                                            N/A
                       Deputy Clerk                                              Court Reporter / Recorder
               Attorneys Present for Plaintiffs:                             Attorneys Present for Defendants:
                             N/A                                                               N/A
    Proceedings:              ORDER GRANTING [23] MOTION FOR SUMMARY JUDGMENT.

        Before the Court is a motion for summary judgment filed by Defendant AJ Press LLC. See Dkt.
      1
23. The Court finds that the motion is suitable for disposition without oral argument. L.R. 7-15. For
the below reasons, the motion is GRANTED.

I.          Factual and Procedural Background.2

        Plaintiff is a technology company that develops online communications solutions for consumers,
including online event invitations and greetings cards, with a focus on celebrations, holidays, and events.
Plaintiff’s services are used by millions of consumers across the United States and around the world.
Punchbowl works with companies such as The Walt Disney Company, Party City Holdings, Sesame
Workshop, Chuck E. Cheese’s, and Dave & Busters.

        Plaintiff has allegedly used the mark PUNCHBOWL® since April 2006. On March 28, 2013,
the United States Patent & Trademark Office issued U.S. Trademark Registration No. 4,341,102 to
Plaintiff for the Punchbowl mark in connection with online communications services.

1
  Although the motion was initially filed as a motion to dismiss, the Court notified the parties that it was converting the
motion to a motion for summary judgment and provided the parties an opportunity to submit supplemental briefing and
evidence. See Dkt. 27.
2
  The facts in this section are intended to provide background information regarding the instant dispute. Nothing in this
section should be construed as a factual finding by the Court.




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        Defendant operates an online news publication that provides newsletters, podcasts, and videos in
the fields of government, politics, public policy, and current events. The publication is called
“Punchbowl News.” The publication offers curated, non-partisan commentary, opinions, and critiques
regarding politicians, lobbyists, and aides. Defendant uses the word “Punchbowl” because that is the
Secret Service nickname for the U.S. Capitol and, accordingly, “Punchbowl” elicits the geographic
location of the U.S. Capitol and Washington, D.C.

        On April 7, 2021, Plaintiff filed a complaint against Defendant alleging trademark violations and
related claims. Dkt. 1. Defendant filed a motion to dismiss on May 10, 2021. Dkt. 23. This Court
converted Defendant’s motion to dismiss to a motion for summary judgment on June 21, 2021. Dkt.
27.

II.     Legal Standard.

        Summary judgment should be granted where “the movant shows that there is no genuine dispute
as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). The moving party “bears the initial responsibility of informing the district court of the basis for
its motion, and identifying those portions of . . . [the factual record that] demonstrate the absence of a
genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving
party satisfies its initial burden, the non-moving party must demonstrate with admissible evidence that
genuine issues of material fact exist. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
586 (1986) (“When the moving party has carried its burden under Rule 56 . . . its opponent must do
more than simply show that there is some metaphysical doubt as to the material facts.”).

        A material fact for purposes of summary judgment is one that “might affect the outcome of the
suit” under applicable law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine
issue of material fact exists where “the evidence is such that a reasonable jury could return a verdict for
the nonmoving party.” Id. Although a court must draw all inferences in the non-movant’s favor, id.
at 255, when the non-moving party’s version of the facts is “blatantly contradicted by the record, so that
no reasonable jury could believe it, [the] court should not adopt that version of the facts for purposes of
ruling on a motion for summary judgment,” Scott v. Harris, 550 U.S. 372, 380 (2007).




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III.        Analysis.

        Under the Rogers test, a trademark owner does not have an actionable Lanham Act claim unless
the defendant’s use of the trademark either (1) is not artistically relevant to the underlying work, or (2)
explicitly misleads consumers as to the source or content of the work. VIP Prods. LLC v. Jack Daniel's
Props., Inc., 953 F.3d 1170, 1174 (9th Cir. 2020). “Neither of these prongs is easy to meet.” Dr.
Seuss Enterprises, L.P. v. ComicMix LLC, 983 F.3d 443, 462 (9th Cir. 2020), cert. denied, No. 20-1616,
2021 WL 2519166 (U.S. June 21, 2021).

         Here, no reasonable juror could find that Defendant’s use of Plaintiff’s mark either (1) is not
artistically relevant to the underlying work, or (2) explicitly misleads consumers as to the source or
content of the work. Accordingly, summary judgment is warranted in favor of Defendant.

            A.    No Reasonable Juror Could Find that Defendant’s Use of Plaintiff’s Mark is Not
                  Artistically Relevant to Defendant’s Underlying Work.

       As to the first prong, any artistic relevance “above zero” is sufficient. Id.; see also Brown v.
Elec. Arts, Inc., 724 F.3d 1235, 1245 (9th Cir. 2013) (“even the slightest artistic relevance” is enough).

        In Twentieth-Century Fox v. Empire Distribution, Inc., the plaintiff, Empire Distribution, Inc.,3
was a “well-known and respected record label that records and releases albums in the urban music
genre.” 875 F.3d 1192, 1195 (9th Cir. 2017). The defendant was Twentieth Century Fox (“Fox”), the
television broadcasting company. Id. Fox released a television show called Empire, which portrayed a
fictional hip hop music label based in New York. Id. The television show featured music in every
episode and, pursuant to an agreement with Fox, Columbia Records would release music for the public
after each episode aired. Id. The plaintiff sued Fox, alleging trademark infringement under the
Lanham Act. Id. The district court granted summary judgment in favor of Fox on the basis that the
plaintiff could not satisfy either prong of the Rogers test. Id.

3
  Although it is not clear why, the title of the case lists Twentieth-Century Fox—the defendant in the case—first, rather than
listing Empire Distribution, Inc., first. Regardless, the opinion makes clear that Twentieth-Century Fox was the defendant
accused of trademark infringement. See generally 875 F.3d 1192.




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       The Ninth Circuit affirmed. In doing so, the court explained that no reasonable juror could find
that Fox’s use of the plaintiff’s mark was not artistically relevant. This was because Fox’s use of the
mark “support[ed] the themes and geographic setting of the work.” Id. at 1199. More specifically,
“the show’s setting is New York, the Empire State, and its subject matter is a music and entertainment
conglomerate, ‘Empire Enterprises,’ which is itself a figurative empire.” Id. at 1198.

       The instant case is analogous to Twentieth-Century Fox. Defendant is in the business of
publishing “curated, non-partisan commentary, opinions, and critiques” regarding “politicians, lobbyists,
and aides” in Washington, D.C. Sherman Decl. ¶ 6. Defendant wanted the name of its publication to
be “evocative of the U.S. Capitol” because its publication “heavily focuses on people and events in
Washington D.C. and the Capitol.” Id. ¶ 7. Defendant “selected the name Punchbowl News to elicit
the theme and geographic location of [its] news publication—people and events in and near the U.S.
Capitol.” The reason that “Punchbowl” elicits the theme and geographic setting of Defendant’s
publication is that “‘Punchbowl’” is the Secret Service nickname for the U.S. Capitol.”4 Id. ¶ 8.

       In designing its logo, Defendant worked with a third-party marketing agency and sought to tie its
imaging to the Capitol. Id. ¶ 10. Accordingly, the proposed designs largely invoked the Capitol
building or its features. Id.; see also id. Ex. 1. Defendant’s final logo also invokes the Capitol
building:




        Under these circumstances, no reasonable juror could conclude that Defendant’s use of
Plaintiff’s mark is not artistically relevant to Defendant’s underlying work. As in Twentieth-Century

4
  At no point does Plaintiff genuinely dispute the fact that the Secret Service’s nickname for the Capitol is “Punchbowl.”
See Matsushita., 475 U.S. at (nonmoving party must present “specific facts showing that there is a genuine issue for trial.”).




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Fox, Defendant uses Plaintiff’s mark to “support[] the themes and geographic setting of the work.” 875
F.3d 1199. More specifically, Defendant’s underlying work focuses on people and events in
Washington D.C., including politicians, lobbyists, and aides—i.e., individuals whose lives are largely
centered around the Capitol building. The term “Punchbowl” is evocative of the Capitol building
because it is the Secret Service’s nickname for that building. And Defendant’s logo makes that clear by
including an image of the Capitol dome, upside down.

        Accordingly, no reasonable juror could find in favor of Plaintiff on the first prong of the Rogers
test.

        B.     No Reasonable Juror Could Find that Defendant’s Use of Plaintiff’s Mark Explicitly
               Misleads Consumers as to the Source or Content of Defendant’s Work.

        The second prong of the Rogers test is a “high bar that requires the use to be an explicit
indication, overt claim, or explicit misstatement about the source of the work.” Dr. Seuss, 983 F.3d at
462 (quotations and citations omitted). A plaintiff does not necessarily satisfy this prong merely by
showing that the defendant expressly uses the trademark. See id. (“[A]lthough titling a book ‘Nimmer
on Copyright,’ ‘Jane Fonda's Workout Book,’ or ‘an authorized biography’ can explicitly misstate who
authored or endorsed the book, a title that ‘include[s] a well-known name’ is not explicitly misleading if
it only ‘implicitly suggest[s] endorsement or sponsorship.’”).

        Indeed, the Ninth Circuit has found that a defendant selling a children’s book did not explicitly
mislead when using a title strikingly similar to that of a well-known children’s book. See id. (finding
title “Oh, the Places You’ll Boldly Go!” not explicitly misleading to plaintiff’s use of “Oh, the Places
You’ll Go!”); see also id. (“Boldly is not explicitly misleading as to its source, though it uses the
Seussian font in the cover, the Seussian style of illustrations, and even a title that adds just one word—
Boldly—to the famous title—Oh, the Places You’ll Go!”).

        Rather, “because use of a trademark alone is not necessarily determinative, two more relevant
considerations weigh in evaluating whether the mark is explicitly misleading: (1) the degree to which
the junior user uses the mark in the same way as the senior user; and (2) the extent to which the junior
user has added his or her own expressive content to the work beyond the mark itself.” Id. (cleaned up).




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        Here, no reasonable juror could find that either of these two considerations weigh in favor of
Plaintiff. And, at a broader level, no reasonable juror could find that Defendant’s use of Plaintiff’s
mark explicitly misleads consumers.

               1.     No Reasonable Juror Could Find that Defendant Uses “Punchbowl” In the
                      Same Way That Plaintiff Does.

       In assessing this first consideration, courts evaluate whether “the junior user has employed the
mark in a different context—often in an entirely different market—than the senior user.” Gordon v.
Drape Creative, Inc., 909 F.3d 257, 270 (9th Cir. 2018). “This is not a mechanical test—all of the
relevant facts and circumstances must be considered.” Id. at 269 (quotations omitted). Plaintiff
acknowledges that “[t]he similarity of the parties’ services is critical.” Opp. at 13.

        Here, Defendant operates an “an online membership-based news publication that provides
newsletters, podcasts, and videos in the fields of government, politics, public policy, and current
events.” Sherman Decl. ¶ 5. The publication offers “curated, non-partisan commentary, opinions, and
critiques” regarding “politicians, lobbyists, and aides.” Id. ¶ 6. In sum, Defendant operates in the field
of journalism.

       By contrast, Plaintiff is a “technology company that develops online communications solutions
for consumers, including online event and celebration invitations and greetings cards, sold as a
subscription-based service.” Douglas Decl. ¶ 3. Plaintiff’s services are used by “millions of
consumers including individuals and corporations across the United States and around the world.” Id. ¶
4. Plaintiff works with “prestigious companies such as The Walt Disney Company, Party City
Holdings, Sesame Workshop, Chuck E. Cheese’s, Dave & Busters, and many others.” Id. ¶ 6.

        As the foregoing discussion demonstrates, the services operated by Plaintiff and Defendant are
not similar. Instead, each party operates in “entirely different market[s].” Gordon, 909 F.3d at 270.
Defendant operates a news publication; Plaintiff operates a technology company that creates online
invitations and greeting cards. Those two businesses “do not go together like a horse and carriage or,
perish the thought, love and marriage.” E.S.S. Ent. 2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095,
1100–01 (9th Cir. 2008) (finding defendant’s use of trademark not explicitly misleading where




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defendant produced video games and plaintiff operated strip club).

        Plaintiff argues that both parties’ services in this case are “targeted at the same general category
of consumers.” Opp. at 5. No reasonable juror could agree. As noted above, Defendant operates an
online news publication focused on politicians, lobbyists, and aides in Washington, D.C. Simply put,
Defendant targets individuals who follow politics closely.

        By contrast, Plaintiff targets families and, specifically, mothers with young children. Plaintiff’s
Chief Operating Officer states in emails that Plaintiff’s audience is “primarily moms with young kids.”
Douglas Decl., Ex. B at 10, 12. This target audience is confirmed by some of the companies that
Plaintiff works with: The Walt Disney Company, Party City Holdings, Sesame Workshop, Chuck E.
Cheese’s, and Dave & Busters. See id. ¶ 6. Accordingly, the Court is not persuaded by Plaintiff’s
argument that both parties in the instant case target the same category of consumers.

       Plaintiff argues that Defendant uses the mark in the same way as Plaintiff because they both use
the mark “to identify the source of [their] products and services.” Opp. at 12–17.

        This argument fails for three reasons. First, it is effectively an argument that mere use of the
mark itself is sufficient for a finding that a defendant uses the mark in an explicitly misleading manner.
Yet, “if this were enough to satisfy this prong of the Rogers test, it would render Rogers a nullity.”
Mattel, Inc. v. MCA Recs., Inc., 296 F.3d 894, 902 (9th Cir. 2002); see also id. (finding music record
company did not explicitly mislead when it used “Barbie” in song title because “[t]he only indication
that Mattel might be associated with the song is the use of Barbie in the title”) (emphasis in original).

       Second, what Plaintiff is really getting at is that, because both Defendant and Plaintiff operate
commercially and sell services to consumers, it is explicitly misleading for Defendant to use Plaintiff’s
mark as the name of its news publishing operation. Yet, this argument is foreclosed by Twentieth-
Century Fox. There, not only did Fox produce a TV show called Empire—i.e., the name of plaintiff’s
company—it also used the mark as “an umbrella brand to promote and sell music and other commercial
products,” including “the sale or licensing of consumer goods.”5 875 F.3d at 1196. In other words,

5
    Indeed, Fox’s use of the mark “Empire” was perhaps more misleading because the television show Empire and the products




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Fox was doing exactly what Plaintiff argues is explicitly misleading: using the trademark to label “the
individual products it creates and the services it provides.” Opp. at 16.

        Despite the overlapping industries—a circumstance not present here—and the fact that both Fox
and the plaintiff used the “Empire” mark as a source-identifier, the Ninth Circuit held that the plaintiff
could not satisfy either prong of the Rogers test. Id.; see also Dr. Seuss, 983 F.3d at 460 (finding
Plaintiff failed to satisfy Rogers test even though both parties sold book with strikingly similar title that
“aimed to capitalize on the same graduation market”).

        Third, the argument is inconsistent with the facts. Specifically, unlike Plaintiff, Defendant does
not use the mark “Punchbowl” alone.6 Rather, it consistently uses it in conjunction with the word
“news,” i.e., “Punchbowl News.” See Sherman Decl., Exs. 2, 3, 4, 5, 6; see also Gordon, 909 F.3d at
271 (finding triable issue of fact existed in part because defendant used plaintiff’s mark “without any
other text”).7 And, as discussed below, Defendant adds its own expressive content every time it uses
the mark “Punchbowl.” See infra at 10.


associated with the brand directly related to the same industry that the plaintiff operated in: hip-hop music production.
Twentieth-Century Fox, 875 F.3d at 1195.
6
  Even if Defendant did, that still may be insufficient. See Twentieth-Century Fox, 875 F.3d at 1199 (holding plaintiff failed
to satisfy second prong of Rogers test even though Fox used mark “Empire” alone).
7
  This case is distinguishable from Gordon for another key reason: both the plaintiff and defendant in Gordon sold, at least in
part, the same product. Specifically, both the plaintiff and defendant sold greeting cards. See Gordon, 909 F.3d at 271.
Although the plaintiff sold other goods as well, this overlap in goods sold was the primary reason the Ninth Circuit found a
triable issue regarding whether the defendant’s use of the mark was explicitly misleading:

            Gordon has introduced evidence that he sold greeting cards and other merchandise with his mark; that in at least
            some of defendants’ cards, Gordon’s mark was used without any other text; and that defendants used the mark
            knowing that consumers rely on marks on the inside of cards to identify their source. Gordon’s evidence is not
            bulletproof; for example, defendants’ cards generally use a slight variation of the HBDGS phrase, and they list
            defendants’ website on the back cover. But a jury could conclude that defendants’ use of Gordon’s mark on one or
            more of their cards is “explicitly misleading as to [their] source.”

Id. Here, by contrast, Defendant operates in an “entirely different market” than Plaintiff. See supra at 6–7.




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        Finally, Plaintiff presents evidence of actual confusion from consumers and argues that said
evidence establishes Defendant is explicitly misleading consumers. Opp. at 17–18; see also Douglas
Decl., Ex. B.

        This argument is unavailing. As the Ninth Circuit explained in Gordon, the key aspect of the
second prong of the Rogers test is that “the creator must explicitly mislead consumers . . . [the] focus [is]
on the nature of the junior user’s behavior rather than on the impact of the use.” 909 F.3d at 269
(emphasis added) (cleaned up). Accordingly, evidence of actual confusion is not particularly relevant
to the second prong of the Rogers test. Nor is evidence that third parties refer to Defendant as
“Punchbowl” and not “Punchbowl News.”

         In fact, the Ninth Circuit expressly rejected the relevance of actual confusion in a recent analysis
of this issue. In Dr. Seuss, the plaintiff conducted a survey for actual confusion. See 983 F.3d at 462.
The survey showed that 24% of respondents confused the products of the defendant and plaintiff. See
Dr. Seuss, Plaintiff-Appellant’s Opening Brief, 2019 WL 3816473 at *14. The Ninth Circuit
unequivocally explained that the survey evidence was of no consequence:

            Boldly is not explicitly misleading as to its source, though it uses the Seussian font in the cover,
            the Seussian style of illustrations, and even a title that adds just one word—Boldly—to the
            famous title—Oh, the Places You'll Go!. Seuss’s evidence of consumer confusion in its expert
            survey does not change the result. The Rogers test drew a balance in favor of artistic expression
            and tolerates the slight risk that the use of the trademark might implicitly suggest endorsement or
            sponsorship to some people.

Dr. Seuss, 983 F.3d at 462 (emphasis added) (cleaned up); see also Brown, 724 F.3d at 1245 (“Adding
survey evidence changes nothing.”).

       Considering “all of the relevant facts and circumstances,” no reasonable juror could conclude
that Defendant uses “Punchbowl” in the same way that Plaintiff does.8

8
  Even if a reasonable juror could find that Defendant uses the mark in the same way, that would not necessarily be sufficient
to meet Plaintiff’s burden. See Dr. Seuss, 983 F.3d at 463 (holding plaintiff failed to satisfy second Rogers prong where




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                     2.        No Reasonable Juror Could Find that the Extent to Which Defendant Added
                               Its Own Expressive Content to the Work Beyond the Mark Itself .9

        This consideration turns on whether a defendant uses the mark “as only one component of [their]
larger expressive creation, such that the use of the mark at most implicitly suggests that the product is
associated with the mark’s owner,” or whether the defendant uses the mark “as the centerpiece of an
expressive work itself, unadorned with any artistic contribution.” Gordon, 909 F.3d at 271.

       Here, no reasonable juror could find that Defendant uses the mark as the centerpiece of an
expressive work itself, without any artistic contribution. As noted above, Defendant always uses the
mark in conjunction with the word “news,” thereby titling its publications with the phrase “Punchbowl
News.” See Sherman Decl., Exs. 2, 3, 4, 5, 6. That phrase is sometimes accompanied by another
slogan: “Power. People. Politics.” See id. And the phrase “Punchbowl News” appears, almost
always, next to the image of the Capitol dome, upside down and filled with punch. See id.

        Moreover, Defendant consistently connects its publication to its founders: Jake Sherman, Anna
Palmer, and John Bresnahan. Sherman Decl. ¶ 12. Each of these individuals are highly credentialed
journalists. See id. ¶¶ 2–5. Defendant’s state on the website that Punchbowl News was founded by
those three individuals, and Defendant’s publications consistently tie Punchbowl News to those three
founders in an explicit manner. See id.; see also id. Exs. 2, 3, 4, 5, 6. This further supports the Court’s
conclusion that no reasonable juror could find that Defendant uses the mark in an explicitly misleading
manner. See Dr. Seuss, 983 F.3d at 463 (finding defendant’s use of mark not explicitly misleading in
part because cover of defendant’s book “conspicuously lists” the authors of the book and not the
plaintiff).10



both parties used marks in same way but defendant added expressive content to work beyond mark itself).
9
     Plaintiff does not analyze this consideration in either of its briefs. See generally Dkts. 24, 29.
10
   Indeed, Plaintiff acknowledges that a court must assess this prong of the Rogers test “[i]n light of the information available
to consumers about who created [the] work.” Opp. at 15.




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       Thus, Defendant uses the mark “Punchbowl” as only “one component” of its work, such that
“the use of the mark at most implicitly suggests that the product is associated with the mark’s owner.”
Gordon, 909 F.3d at 271.

        Accordingly, no reasonable juror could find that this consideration weighs in favor of Plaintiff.

                                                    ***

       Finally, Plaintiff argues that “Defendant’s First Amendment rights are not being impinged in any
way because Defendant remains able to select any non-infringing mark as the source identifier for its
goods and services without any impact on its Constitutional right to report and comment on the news.”
Opp. at 5.

        The Court rejects this argument because it would eviscerate the Rogers test. The Rogers test
applies to “expressive works.” Jack Daniel's, 953 F.3d at 1174. An “expressive work” is a work that
is “communicating ideas or expressing points of view.” Id. “A work need not be the expressive equal
of Anna Karenina or Citizen Kane to satisfy this requirement.” Id. (quotations omitted).

         Inherently, an expressive work could always be “expressed” differently. For example, each of
the defendants in Dr. Seuss, E.S.S., Mattel, and Twentieth-Century Fox could have chosen a different
title or used a different word. If that were sufficient for the plaintiffs in those cases to prevail, the Ninth
Circuit would not have applied the Rogers test. Indeed, if the existence of alternative titles were
sufficient, the Rogers test would rarely, if ever, apply. Yet, in none of those cases did the Ninth Circuit
even discuss alternative titles or words.

          This is likely because Rogers itself rejects consideration of alternative means: “In the context of
titles, this ‘no alternative’ standard provides insufficient leeway for literary expression.” 875 F.2d 994,
999 (2d Cir. 1989).

        This is not a time, place, and manner case where courts must consider alternative means of
access or expression. Cf. Kleindienst v. Mandel, 408 U.S. 753, 765 (1972) (“While alternative means of
access to Mandel’s ideas might be a relevant factor were we called upon to balance First Amendment




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rights against governmental regulatory interests . . . we are loath to hold on this record that existence of
other alternatives extinguishes altogether any constitutional interest on the part of the appellees in this
particular form of access.”). The key inquiry here is not whether there are alternative titles that
Defendant could have chosen. Rather, the issue is whether “the public interest in avoiding consumer
confusion outweighs the public interest in free expression.” Id.

        For the reasons discussed above, the Court concludes that the public interest in avoiding
consumer confusion does not outweigh the public interest in free expression. This is because no
reasonable juror could find that Defendant’s use of Plaintiff’s mark either (1) is not artistically relevant
to the underlying work, or (2) explicitly misleads consumers as to the source or content of the work.
Accordingly, summary judgment is warranted in favor of Defendant.

IV.     Plaintiff’s Evidentiary Objections Are Unavailing.

       In his declaration, Sherman describes, among other things, why AJ Press, LLC—i.e.,
Defendant—chose the name “Punchbowl News.” Sherman Decl. ¶ 6. In doing so, Sherman uses the
term “we” and speaks on Defendant’s behalf.

        Plaintiff makes two objections to this declaration. First, Plaintiff argues that Sherman lacks
personal knowledge of the statements in his declaration. According to Plaintiff, Sherman cannot use
the word “we” or describe AJ Press’s position on anything because “entities cannot be credibly
understood as having independent viewpoints.” Opp. at 18. Second—and similarly—Plaintiff argues
that the Sherman declaration contains inadmissible hearsay because Sherman uses the term “we” in
reference to AJ Press, LLC and, accordingly, Sherman “appears to be summarizing the statements and
opinions of multiple people throughout his declaration.” Id. at 19.

         These arguments ignore the obvious: Sherman is the co-founder of AJ Press, LLC. Sherman
Decl. ¶ 6. Accordingly, he most certainly has personal knowledge of AJ Press, LLC’s decision-making
process. Indeed, Plaintiff seeks discovery regarding AJ Press’s awareness of the Punchbowl mark prior
to starting Punchbowl News. Presumably Plaintiff would want to depose an official representing AJ
Press under FRE 30(b)(6). That individual would likely be Sherman.




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       There is also no hearsay issue. Sherman is not “summarizing the statements and opinions of
multiple people throughout his declaration.” Opp. at 19. Instead, he is speaking on behalf of AJ Press,
LLC. See Sherman Decl. ¶ 6 (“AJ Press, LLC (‘AJ Press’ or ‘we’) owns and operates Punchbowl
News.”). There can be no doubt that, if Sherman were to present his declaration in the form of live
testimony at trial, that testimony would not constitute inadmissible hearsay. Accordingly, Sherman’s
declaration is properly considered on summary judgment. See JL Beverage Co., LLC v. Jim Beam
Brands Co., 828 F.3d 1098, 1110 (9th Cir. 2016) (“[A]t summary judgment a district court may consider
hearsay evidence submitted in an inadmissible form, so long as the underlying evidence could be
provided in an admissible form at trial, such as by live testimony.”).

V.      A Rule 56(d) Continuance is Not Warranted.

        Plaintiff requests a continuance under Rule 56(d) to obtain discovery regarding the following: (1)
Defendant’s awareness of Plaintiff when Defendant chose the name “Punchbowl News”; (2) whether
Defendant intended to associate itself with Plaintiff when it chose the name “Punchbowl News”; (3) the
“full array of goods and services offered by Defendant . . . which would further demonstrate that
Defendant uses the mark to identify the source of all of its goods and services (i.e., as a source
identifier)”; and (4) evidence of actual confusion. Willsey Decl. ¶¶ 5, 6.

        The Court declines Plaintiff’s request. Twentieth-Century Fox forecloses any continuance based
on the first three items that Plaintiff seeks in discovery. See 875 F.3d at 1199–1200 (affirming denial of
Rule 56(d) request where “[t]he subjects of further discovery that Empire Distribution claims would
have been relevant are ‘FOX’s reason for selecting the ‘EMPIRE’ name, FOX’s prior knowledge of
EMPIRE’s trademarks ..., and FOX’s marketing strategy to mislead consumers.’”). Moreover, the mere
allegation that Defendant uses the mark as a source-identifier is insufficient for Plaintiff to prevail. See
generally id.; see also supra at 7–8.

       The fourth basis for the Rule 56(d) request is similarly unavailing, because, as discussed above,
“[a]dding survey evidence changes nothing.” Brown, 724 F.3d at 1245; see also supra at 9.

        Accordingly, Plaintiff’s request under Rule 56(d) is denied.




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VI.      Conclusion

         For the foregoing reasons, the motion for summary judgment is GRANTED.11

         IT IS SO ORDERED.




11
   The Court’s ruling applies to all claims asserted in this case, not just the trademark infringement claims. See Mattell, 296
F.3d at 901, 902 n.2 (successful First Amendment defense entitles defendant to summary judgment on state law claims for
unfair competition); E.S.S, 547 F.3d at 1101 (“Since the First Amendment defense applies equally to [Defendant’s] state law
claims as to its Lanham Act claim, the district court properly dismissed the entire case . . . .”).




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